119 F.3d 6
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.NORTHWEST TELECOMMUNICATIONS, INC., a Washingtoncorporation, Plaintiff-Appellant,v.ROBERT H. TATE &amp; ASSOCIATES, INC. an Oregon Corporation fkaCall Us, Inc.;  Robert H. Tate, Defendants-Appellees.
    Nos. 96-35625, 96-35857.
    United States Court of Appeals, Ninth Circuit.
    Argued July 9, 1997.Submitted July 9, 1997.Decided July 18, 1997.
    
      Appeal from the United States District Court for the District of Oregon, No. CV-91-01001-REJ;  Robert E. Jones, District Judge, Presiding.
      Before:  GOODWIN, REINHARDT and RYMER, Circuit Judges.
    
    
      1
      ORDER*
    
    
      2
      Pursuant to the judgment of this Court on May 12, 1955, the district court awarded attorney fees to Robert H. Tate and Associates on July 9, 1996.  Northwest Telecommunications, Inc., appealed the award on the ground that the application for the fee was untimely under Fed.R.Civ.P. 54.  Because the award was not made pursuant to a judgment of the district court, but was made following a status conference after a mandate had been received from this Court, the time frame provided in Rule 54 had no application.  There was no substantive reason not to award the fee as required by the mandate of the Court of Appeals.  Accordingly, the appeal is without merit.  Because the delay in concluding this litigation can be charged to both parties, neither party shall recover costs or attorney fees on this appeal.
    
    
      3
      AFFIRMED.
    
    
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Circuit Rule 36-3
      
    
    